Jeremy C. Lieb / Erik Grafe
Ian S. Dooley / Carole A. Holley
EARTHJUSTICE
441 W 5th Avenue, Suite 301
Anchorage, AK 99501                        Eric P. Jorgensen
T: 907.277.2500                            EARTHJUSTICE
E: jlieb@earthjustice.org                  325 Fourth Street
E: egrafe@earthjustice.org                 Juneau, AK 99801
E: idooley@earthjustice.org                T: 907.586.2751
E: cholley@earthjustice.org                E: ejorgensen@earthjustice.org

Attorneys for Plaintiffs Center for Biological Diversity, Defenders of Wildlife,
Friends of the Earth, and Greenpeace, Inc.

Kristen Monsell (pro hac vice)             Cecilia Segal (pro hac vice)
CENTER FOR BIOLOGICAL                      Ann Alexander (pro hac vice)
DIVERSITY                                  NATURAL RESOURCES DEFENSE COUNCIL
1212 Broadway, St. #800                    111 Sutter St., 21st floor
Oakland, CA 94612                          San Francisco, CA 94104
T: 510.844.7100                            T: 415.875.6100 / 415.875.6190
E: kmonsell@biologicaldiversity.org        E: csegal@nrdc.org / aalexander@nrdc.org

Attorneys for Plaintiff Center for         Attorneys for Plaintiff Natural Resources Defense
Biological Diversity                       Council


                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

CENTER FOR BIOLOGICAL DIVERSITY et al.,                   )
                                                          )
         Plaintiffs,                                      )
                                                          )
           v.                                                 Case No. 3:23-cv-00061-SLG
                                                          )
BUREAU OF LAND MANAGEMENT et al.,                         )
                                                          )
         Defendants,                                      )
                                                          )
CONOCOPHILLIPS ALASKA et al.,                             )
                                                          )
          Intervenor-Defendants.                          )

         AFFIDAVIT OF SERVICE OF SUMMONS AND COMPLAINT




    Case 3:23-cv-00061-SLG           Document 92-1      Filed 05/03/23     Page 1 of 19
       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that I am over 18

years of age, I am not a party to this action, and that on March 15, 2023, Emma Askea, a

litigation assistant under my supervision, served the Summons and Complaint in the

above-captioned case on the below-named defendants in the manner indicated:

 Bureau of Land Management                     1) Serving the United States and
 1849 C Street NW                              2) Sending Bureau of Land Management
 Washington, DC 20240                          a copy of the summons and complaint by
                                               first class mail, certified and return receipt
                                               requested.

 United States Fish and Wildlife Service       1) Serving the United States and
 1849 C Street, NW                             2) Sending United States Fish and Wildlife
 Washington, DC 20240                          Service a copy of the summons and
                                               complaint by first class mail, certified and
                                               return receipt requested.

 National Marine Fisheries Service             1) Serving the United States and
 1315 East-West Highway, 14th floor            2) Sending National Marine Fisheries
 Silver Spring, MD 20910                       Service a copy of the summons and
                                               complaint by first class mail, certified and
                                               return receipt requested.

 United States Department of the Interior      1) Serving the United States and
 1849 C Street, NW                             2) Sending United States Department of
 Washington, DC 20240                          the Interior a copy of the summons and
                                               complaint by first class mail, certified and
                                               return receipt requested.

 United States Department of Commerce          1) Serving the United States and
 1401 Constitution Ave NW                      2) Sending United States Department of
 Washington, DC 20230                          Commerce a copy of the summons and
                                               complaint by first class mail, certified and
                                               return receipt requested.




CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                           2

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 Deb Haaland, Secretary                          1) Serving the United States and
 United States Department of the Interior        2) Sending Secretary Haaland a copy of
 1849 C Street, NW                               the summons and complaint by first class
 Washington, DC 20240                            mail, certified and return receipt requested.

 Tommy P. Beaudreau, Deputy Secretary            1) Serving the United States and
 United States Department of the Interior        2) Sending Deputy Secretary Beaudreau a
 1849 C Street, NW                               copy of the summons and complaint by first
 Washington, DC 20240                            class mail, certified and return receipt
                                                 requested.

 Gina M. Raimondo, Secretary                     1) Serving the United States and
 United States Department of Commerce            2) Sending Secretary Raimondo a copy of
 1401 Constitution Ave NW                        the summons and complaint by first class
 Washington, DC 20230                            mail, certified and return receipt requested.

 Steve Cohn, Alaska State Director               1) Serving the United States and
 Bureau of Land Management                       2) Sending State Director Cohn a copy of
 222 W 7th Avenue #13                            the summons and complaint by first class
 Anchorage, AK 99513                             mail, certified and return receipt requested.

 Sara Boario, Regional Director                  1) Serving the United States and
 United States Fish and Wildlife Service         2) Sending Regional Director Boario a
 1011 East Tudor Rd                              copy of the summons and complaint by first
 Anchorage, AK 99503                             class mail, certified and return receipt
                                                 requested.

 Jonathan Kurland, Regional Administrator        1) Serving the United States and
 National Marine Fisheries Service               2) Sending Regional Administrator
 709 W. 9th St., Rm 420                          Kurland a copy of the summons and
 Juneau, AK 99801                                complaint by first class mail, certified and
                                                 return receipt requested.

       Pursuant to Fed. R. Civ. P. 4(i)(1)(B) and 4(i)(1)(A)(ii), service on the United

States was accomplished on March 15, 2023, by sending copies of the summonses and

complaint by first class mail, certified and return receipt requested, to the following:




CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                            3

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 Merrick B. Garland, Attorney General           Civil Process Clerk
 United States Department of Justice            U.S. Attorney, District of Alaska
 950 Pennsylvania Avenue, NW                    United States Department of Justice
 Washington, DC 20530-0001                      222 West 7th Avenue, Room 253, #9
                                                Anchorage, AK 99513

       Copies of the U.S. Postal Service certified mail receipts and return receipts are

attached as proof of service on Bureau of Land Management, National Marine Fisheries

Service, United States Department of the Interior, Deb Haaland, Tommy P. Beaudreau,

Gina M. Raimondo, Steve Cohn, Sara Boario, Jonathan Kurland, Merrick B. Garland,

and Civil Process Clerk. See Exhibit 1. In lieu of the return receipt, delivery on United

States Fish and Wildlife Service and United States Department of Commerce was

confirmed via U.S. Postal Service Tracking. See Exhibit 2.

       I certify under penalty of perjury that the foregoing is true.

       Dated: May 3, 2023.




                                         Iris Korhonen-Penn
                                         EARTHJUSTICE
                                         325 Fourth Street
                                         Juneau, AK 99801
                                         T: 907.792.7126
                                         E: ikorhonen@earthjustice.org




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Case No. 3:23-cv-00061-SLG                                                           4

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